Case 1:18-cr-10027-NI\/|G Document 22 Filed 07/19/18 Page 1 of 9

AO 2455 (Rev. l lll()] ludgment in a Criminal Casc
Shi:cl 1

 

UNITED STATES DISTRICT COURT

District of Massachusetts

 

 

 

 

 

1
UNITED STATES OF AMERICA ) JUDGMENT lN A CRIMINAL CASE
V. )
CORNEL|US F’ETERSON § Case Numbct': l: 18 CR ]()()27 - 1 _ NMG
) USM Number: 00750-‘138
)
) Carol A. Starkey, Esq.
) Dcl'cridarit's Attomey
THE DEFENDANTZ
m pieadea guilty m couni(s) 1- 2- 3“5
|:l pleaded nolo contendere to eount(s)
which Was accepted by the court.
|:l was found guilty on couni(s)
after a plea of not guilty.
Thc defendant is adjudicated guilty oftlicse offenses:
Title & Seetiun Nature olOffense Of|`ense Ended Couni
18 U.S.C. § 371 Conspiracy 06,'26/17 l
15 U.S.C. §§ 80b-6(1), Investment /\dvisor Fraud 05/31/17 2
(2), & (4) and 15 U.S.C.
§ 8013-17
13 U_S,C_ § 1344 Bank Fraud 03/14/16 3'5
The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
l:| The defendant has been found not guilty on count(s)
[] Count(s) 1:1 is l:l arc dismissed on the motion ofthe United States.

 

_ _ lt is ordered that the defendant'niust notify the Un_ited States attorney for this district within 30 da s of_any change ofname, residcnec,
or mailing address until_all fines, restitution,_costs, and special assessments imposed lay thisjudgntent are fu ly paid. lfoi'dered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

6/28/201 8

 

Daic oflmpositiun ofJudgmeni

%mwr%§~m

Signature of.|udge

Thc Honorable Nathaniel M. Gorton
U.S. Distriet Judge

 

Name and Title ofJudge

'M‘?/i X

Date

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AO 245B (Rev. ll/16) ludgment in a Criminal Case
Sheet lA

.ludgment_Page of
DEFENDANT: CORNEL|US PETERSON
CASE NUMBER: 12 18 CR 10027 - 1 - NMG

ADDITIONAL COUNTS OF CONVICTION

Title & Seetion Nature of Offense Offense Ended w
18 U.S.C. §§981(a)(l) Forfeiture Allegations

(C), 982(a)(2) and 28

U.s.c. §2461

Case 1:18-cr-10027-NI\/|G Document 22 Filed 07/19/18 Page 3 of 9

AO 2458 (Rev. ll/16) .ludgment in Criminal Casc
Sheet 2 _ lmprisonment

Judgment _ Pagc 3 of 9

DEFENDANT; CORNEL|US PETERSON
CASE NUMBER; 1: 18 CR 10027 - l - NMG

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 20 month(s)

This term consists of terms of 20 months on Counts 1-5, to be served concurrent|y.

El The court makes the following recommendations to the Bureau of Prisons:

The Court makes a judicial recommendation that the Defendant be designated to Ft. Devens or other facility closest to his
famin in MA, commensurate with the appropriate security leva|.

El The defendant is remanded to the custody of the United States Marshal.

E The defendant shall surrender to the United States Marshal for this district:

l:] at l] a.m. l:l p.m. on
|:l as notified by the United States Marshal.

 

m The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

Zl before 2 p.m. on 8/9/2018

 

l:l as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment
UNlTED STATES MARSHAL
By

 

DEPUTY UNlTED STATES MARSHAL

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AO 2458 (Rev. 11116) .ludgment in a Criminal Case
Sheet 3 - Supervised Release

Judgment-Page 4 of
DEFENDANT: CORNEL|US PETERSON

CASE NUMBER: 1: 18 CR 10027 - l - NMG
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of : 2 year($)

This term consists of terms of 2 years on all counts, such terms to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

MN’-*

imprisonment and at least two periodic drug tests thereafter, as determined by the court.
Z] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of fixture substance abuse. (clieck ifapplicah/e)
4. M You must cooperate in the collection of DNA as directed by the probation officer. (check i;fappli'cable)

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

5- l:l You must comply with the requirements of the Sex Offender Registration and Notif`lcation Act (42 U.S.C. § 16901, el seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (chei.-k yappiicable)
6. l:| You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page.

Case 1:18-cr-10027-N|\/|G Document 22 Filed 07/19/18 Page 5 of 9

AO 2453 (Rcv. | 1/16) Judgment in a Crimina| Casc
Sheet 3A - Supervised Release

Judgment-Page 5 of 9
DEFENDANT: CORNEL|US PETERSON
CASE NUMBER: 12 18 CR 10027 - 1 - NMG

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. if notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of` a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of` your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

.V‘.">

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overvi'ew of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Def`endant‘s Signature Date

 

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AO 24SB(Rev. l 1/16) .ludgmeut in a Criminal Case
Sheet 3D - Supervised Releasc

J d _P
DEFENDANT; coRNELius PETERsoN " gm°m age
CASE NUMBER: 13 18 CR 10027 - 1 - NMG

SPECIAL CONDITIONS OF SUPERVISlON

1. You are prohibited from engaging in an occupation, business, or profession in the financial services industry.

2. You are prohibited from drinking alcohol to the point of intoxication, as defined by Nlassachusetts State Law as a .10
blood alcohol leve|.

3. You must pay the balance of any restitution imposed according to a court-ordered repayment schedu|e.

4. You are prohibited from incurring new credit charges or opening additional lines of credit without the approval of the
Probation Office while any Hnancia| obligations remain outstanding

5. You must provide the Probation Office access to any requested financial information. which may be shared with the
Financia| Litigation Unit of the U.S. Attorney's Office.

_S_or__§__

Case 1:18-cr-10027-N|\/|G Document 22 Filed 07/19/18 Page 7 of 9

AO 24513 [Rcv. llflé) Judgment in a Criminal Case
Sheet 5 s Criminal Monctary l’cnalties

 

 

Judgmcnt_l’age *"' of ‘d
DEFENDANT; CORNEL|US PETERSON _
CASE NUMBER: l: 18 CR 10027 - 1 - NMG

CRIMINAL MONETARY PENALTIES

The defendant intist pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

Assessnient JVTA Assessment* Fine Restitution
To’rALs s 500,00 S S S 462,000.00
i:l The determination ofrestitutioit iS deferred until . /-\n Aiiieiiderl .]iin'gi)ieiii' iii ri Ci'i'iiiiiirif Cci.re (A0245C) will bc entered

after such determination
|:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

Ifthc defendant makes a partial payineiit, each payee shall receive an approximately ro ortioned ayincnt, unless specified otherwise in
the priority order or percentage payment column elow. ilowever, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Naiiie ol` 1’avee Total Loss** Restitution Ortlered Prioritv or l’ereentage
The Financia| Services Company $362,000.00
C|ient A $100,000.00
TOTALS S 0.00 S 462,000.00

[l Restitution amount ordered pursuant to plea agreement S

fl 'flic defendant must pay interest on restitution and a Hne ofniore than 32,500. unless the restitution or fine is paid in full before the
fifteenth day after the date ofthejudgincnt, pursuant to 18 U.S.C. § 3612(D. All ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and default. pursuant to 18 U.S.C. § 3612(g).

i:] The court determined that the defendant does not have tlie ability to pay interest and it is ordered tliai:
l:] the interest requirement is waived for the |:1 fine [:1 restitutionl

1:] the interest rcquii'elitent for the i:] fine [1 restitution is modified as follows:

* Jtistice l`Or Viciims ofTrafIickin Act of 2015` l’tib. L. No. 114-22. _ _
*’°‘ Findings for the total amount o losses are required under Cliapters 109A. l 1(), 1 10A, and 1 13A ofTitle 18 for offenses committed on or
after Septembei' 13, 1994, but before Api'il 23, 1996.

Case 1:18-cr-10027-N|\/|G Document 22 Filed 07/19/18 Page 8 of 9

AO 2458 (Rev. 1 ll16) Judgment in a Criminal Case
Sheet 5A _ Criminal Monetary Penalties

Judgment_Page 8 of 9

DEFENDANT: CORNEL|US PETERSON
CASE NUMBER: 1: 18 CR 10027 - 1 - NMG

ADDITIONAL 'I`ERMS FOR CRIMINAL MONETARY PENALTIES

lt is further ordered that the defendant shall make a lump sum payment of $107,300.00, which will be paid on the date of
sentencing Payment of the restitution balance is to begin immediately according to the requirements of the Federa| Bureau
of Prisons' inmate Financia| Responsibility Program while the defendant is incarcerated and according to a court-ordered
repayment schedule during the term of supervised release.

A|| restitution payments shall be made to the Clerk, U.S. District Court for the transfer to the identified victims. The
defendant shall notify the United States Attorney for this district within 30 days of any change of mailing or residence
address that occurs while any portion of the restitution remains unpaid.

Case 1:18-cr-10027-N|\/|G Document 22 Filed 07/19/18 Page 9 of 9

AO 2453 (Rev. 1 1/16) Judgment iri a Criminal Case
Sheet 6 _ Schedule of Payments

 

Judgment _ Page 9 of 9
DEFENDANT: CORNEL|US PETERSON
CASE NUMBER: l: 18 CR 10027 - 1 - NMG
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A [Z Lump sum payment of $ 500-00 due immediately, balance due
|:| not later than , or
12 in accordance with [:| C, |:| D, l:| E, or M F below; or
B l:l Payment to begin immediately (may be combined with |:l C, 1:| D, or |:l F below); or
C l:l Payment in equal (e.g.. weekly, monihly. quarterly) installments of $ over a period of
(e.g., months oryear.r), to commence (e.g.. 30 or 60 days) after the date of this j udgment; or
D |:l Payment in equal (e.g., weekly, monihly, quarrerly) installments of $ over a period of
(e.g., months oryears), to commence (e.g.. 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Z] Special instructions regarding the payment of criminal monetary penalties:

See Page 8.

Unless _the cou_rt ha_s expressly ordered otherwise, if this judgment imposes imprisonment, pa ment of criminal monetary penalties is due during
th_e period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

13 Joint and Several

Defendant and Co-Defend_ant Names_ and Case Numbers (including defendant number), 'I`otal Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The restitution shall be paid by the defendant jointly and severally with James Po|ese, Docket No. 18-CR-10028-MLW.

l:l The defendant shall pay the cost of prosecution

l:|

The defendant shall pay the following court cost(s):

m The defendant shall forfeit the defendant’s interest in the following property to the United States:
$157,300.00 (as ordered in Docket No. 18, entered on 5/25/2018).

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

